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AO 91 (Rev.   li/il)    Criminal Complaint


                                             UNITED STATES DISTRICT COURT                                       18
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                                                           Western District of Texas                              a. ..........:    S   .




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                       United States of America                            )                                                                'EX
                                                                                                                               S

                                   v.                                      )

                                                                           )      Case No.
                       LUKMAN SHINA AMINU




                               Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best         of my knowledge and belief.
On or about the date(s) of                        June 13, 2017                   in the county of               Travis                     in the

      Western               District of            Texas            ,   the defendant(s) violated:

               Code Section                                                          Offense Description



Title 18 USC 1956(h)                                -Conspiracy to commit money laundering




          This criminal complaint is based on these facts:
See Attachment




              ( Continued on the attached sheet.


                                                                                                     Complainant's signature

                                                                                              Brad Weatherford, Texas_Ranger
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                        Judge 's signature

City and state:                               Austin, Texas                                Andrew WAustin, US Magistrate Judge
                                                                                                      Printed name and title
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                                   IN THE UNITED STATES   DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION


                             LUKMAN SHINA AMINU COMPLAINT ATTACHMENT




         1.        I,       Brad Weatherford, am commissioned as a peace officer by the Texas

Department of Public Safety, currently a Texas Ranger assigned to the Public Integrity

Unit responsible for investigating public officials accused of criminal activity and all other

crimes relating to fraud and public corruption.              I   have been a peace officer for over

eleven years, with over four years' fraud and financial crimes investigative experience.                     I




have previously served as a Federal Task Force Officer with the Federal Bureau of

Investigations White Collar Crimes Unit and the United States Secret Service Financial

Crimes Unit where was responsible for investigations involving white collar, gambling,
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and property type crimes to include money laundering, identity theft, and all forms of

fraud.   I    received formal training through the Texas Department of Public Safety,

Federal Law Enforcement Training Center, Association of Certified Fraud Examiners,

and the National Association of Attorney Generals, in investigations involving financial

and fraud type crimes.              I   am a member of a Central Texas Fraud Investigator's working

network where confer and consult with other senior investigators regarding all types of
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crimes involving fraud and financial crimes.

         2.        I    respecifully submit this affidavit in support of a criminal complaint and

arrest warrant for LUKMAN SHINA AMINU, black male, date of birth,                     11 -XX-1   983. This

affidavit is submitted for the purpose of establishing probable cause that beginning on or


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about 06-13-2017 in the Western District of Texas, AMINU conspired to commit

laundering of monetary instruments (money laundering) in violation of Title 18, United

States Code, Section 1956(h), with knowledge that the transactions were designed to

conceal or disguise the nature, location, source, ownership or control of proceeds of

Wire Fraud, 18 U.S. Code 1343.

       3.      The facts set forth in this affidavit are based on my personal observations,

my training and experience, and information obtained from various law enforcement

sources, especially the Texas Department of Public Safety (DPS) and the Federal

Bureau of Investigation (FBI), witnesses, search warrants, reports, financial records,

and other sources. This affidavit is intended to merely show that there is sufficient

probable cause to support the requested arrest warrant. Accordingly, this affidavit does

not purport to set forth all facts known to me, DPS, or the FBI regarding this matter.

      4.       As set forth in detail below, probable cause exists that AMINU conspired

with others to launder funds sourced from various frauds, including fraud proceeds from

the Western District of Texas procured via Wire Fraud (as outlined below) and multiple

other fraudulent schemes (including romance scams) sourced from victims in different

jurisdictions around the United States. These frauds constitute specified unlawful

activity under the money laundering statute. AMINU received these funds in money

orders or via prepaid cards as detailed below and knew that they were the proceeds of

unlawful activity. AMINU conducted multiple financial transactions designed to conceal

the nature, source, location, ownership, and control of the proceeds.

                                          FACTS

       5.      Beginning in June of 2017, an unidentified subject, or subjects, began



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creating unauthorized accounts for participants in the Employees Retirement System of

Texas ("ERS") internet portal. The subject accessed the ERS participant internet portal

and used ERS participants' personally identifiable information ("P11") to create 30

accounts for participants who were all over the age of 65 and did not have accounts in

the portal. After creating the accounts, the subject changed the bank accounts on file

with ERS for 26 participants' retirement payments. ERS, based in Austin, Texas, in the

Western District of Texas, detected the fraudulent activity, but not before ERS sustained

an actual loss of $10,605.18 with a potential minimum loss estimated at $1 31, 461.64.

         6.      On 07-31-2017, an unidentified subject created an account for Victim-i,

74 years of age, in the ERS internet portal using Vitim-i 's    P11.   The subject then

successfully changed the bank account on file with ERS for Victim-i to a MasterCard

prepaid debit card ("MasterCard") issued by Green Dot Bank ("Green Dot"). A

confirmation email was sent to an email address provided by the subject,

mrpcavanaughfinancier.com, after the account was changed.                I   spoke with Victim-i,

who said the ERS online account was not created or authorized to be created by Victim-

I,   and the email account associated with the ERS account did not belong to Victim-I.

         7.      On 08-29-2017, Victim-i's monthly retirement payment of $1,972.97 was

deposited onto the Green Dot MasterCard. On 09-27-201 7, Victim-i's monthly

retirement payment of $1,972.97 was again deposited onto Green Dot MasterCard.

         8.      According to Green Dot account records, the MasterCard debit card was

activated in the name of Victim-2, on 06-27-20i 7. For both Green Dot and Netspend

(discussed below) cards, in order for the cards to be fully activated and utilized as debit

cards that can receive deposits, an individual's   P11   must be provided to Green Dot or



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Netspend. On 02-08-2018, Victim-2, 82 years of age, was interviewed by law

enforcement and stated she had never purchased, owned, or received a Green Dot

prepaid debit card. The initial load (credit) of $10.00 on the card took place on 06-27-

2018. This process does not require registration or an individual's   P11,   limiting the

function of the debit card to a pre-paid card that can only make purchases. In order for

the card to be reloadable (receive deposits), the account must be registered online with

an individual's   P11.   The Green Dot account registered using Victim-I's   P11   received

three total deposits on the card with two of the deposits from Victim-i 's ERS account

and one deposit from Victim-2's Prudential account.

       9.       Records provided by Green Dot showed that the Internet Protocol ("IP")

address 45.76.175.244 was used numerous times from 07-31 -201 7, through 10-17-

2017, to access the online account for the Green Dot MasterCard. An Information

Security Officer employed at ERS confirmed that this IP address, 45.76.175.244, was

also used to access the ERS participant internet portal on 10-07-2017 and 10-09-2017.

On these two dates, bank account information for 23 ERS participants was changed in

the ERS participant internet portal without the participants' knowledge or consent. The

IP address is registered to Choopa, LLC, a company which provides "bulletproof

hosting" to customers who wish to obtain IP addresses anonymously.

       10.      An analysis of records showed that on 08-30-2017, the day after Victim-

l's retirement payment was deposited       on the Green Dot MasterCard, the card was used

at a Hannaford Supermarket ("Hannaford") in Manchester, NH, to make a purchase of

$1,904. Records also showed that on 09-28-2017, the day after Victim-i 's second

retirement payment was deposited on the Green Dot MasterCard, the card was again
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used at a Hannaford in Manchester, NH, to make a purchase of $1,905.

       11.    A Hannaford representative provided records related to the two purchases

on 08-30-2017, the cardholder purchased four Western Union money orders, three for

$500.00 and one for $200.00. The cardholder also received $200.00 in cash, and there

was a $4.00 fee charged for the money, making the total $1,904.00. Each money order

contained a sequence number that was provided to Western Union who provided copies

of the money orders. The payee and payee address listed on two of the Western Union

money orders was "Wellington Terrace, 57 Wellington Terrace," which is the apartment

complex name and address where AMINU was living at the time. The other two money

orders did not have a payee listed on the money orders. Western Union and

MoneyGram print the amount, date, and serial number on the money order. There is a

pay to order section and purchaser's name and address section which can be filled in or

left blank by the purchaser. If left blank, the person that receives the money order can

fill in the blank sections on the money order.

       12.    Hannaford records showed that on 09-28-2017, the cardholder purchased

five Western Union money orders, three for $500.00, one for $300.00, and one for

$100.00. There was a $5.00 fee charged for the money orders, making the total

$1,905.00. Each money order contained a sequence number that was provided to

Western Union who provided copies of the money orders. Western Union money order

sequence numbers 651410076-6 ($500.00) and Al 7-651410077-5 ($300.00) were

made out to "Lukman Aminu." Western Union money order sequence number           Al 7-

651410078-4 ($500.00), was made out to PERSON 1, residing in Manchester, New

Hampshire. Western Union money order sequence numbers          Al 7-651410079-3


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($500.00) and Al 7-651410080-2 ($100.00) were made payable to "Insurance Auto

Auctions."

       13.   The photographs and video provided by Hannaford for the 09-28-2017,

purchase of money orders were compared to U.S. immigration photographs of AMINU

and to profile photographs of AMINU on social media websites Facebook and Linkedln.

The individual in the photographs provided by Hannaford appears to be the same

person depicted in the immigration and social media profile photographs of AMINU.

There is an unidentified black male with AMINU during the transaction on 09-28-2017

that resembles PERSON 1, but cannot be confirmed because of the camera angle of

the video.

       14.   When Victim-2 was interviewed by law enforcement in February of 201 8,

she also stated that at some point in 2017 she did not receive her deceased husband's

monthly retirement payment from Prudential Financial ("Prudential"). Victim-2 reported

the missing payment to Prudential and the company issued a new payment. Law

Enforcement spoke with a prudential representative who confirmed that Victim-2 did not

authorize the change to her bank account on file with Prudential and there was a

second attempted deposit that was stopped by Prudential because of suspected fraud.

Records subpoenaed from Green Dot showed a payment of $1,561.22 on 07-31-2017,

from Prudential to the Green Dot MasterCard.

       15.   The following day, 08-01-201 7, the Green Dot MasterCard was used to

make a purchase of $1,551.40 from a Walmart in Manchester, NH. A Walmart

representative informed law enforcement that the purchase was for MoneyGram money

orders. MoneyGram provided images of the money orders purchased at Walmart and
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one of the money orders is made payable to "Lukman Aminu" for $1 ,000.O0. An

address, "57 Wellington Terrace," is also written on the face of the money order.

LexisNexis Accurint records for AMINU list his residence at the time as 57 Wellington

Terrace Drive, Manchester, NH 03104. The other money order was made payable to

"Copart" for $550.00. Open-source reporting indicates that Copart, Inc is a publicly-

traded, international auto auction company headquartered in Dallas, Texas. Copart is a

global leader in online vehicle auctions, and a premier destination for the resale and

remarketing of vehicles. They maintain over 200 locations in 12 countries, including

one in Candia, New Hampshire, which is the town adjacent to Manchester, where

AMINU resides.

      16.      On 02-14-201 8, law enforcement conducted physical surveillance on

AMINU's residence at 57 Wellington Terrace and observed a male and a female leaving

the residence in a blue Toyota Matrix vehicle. A law enforcement officer who conducted

the surveillance believed that the male who left the residence was the same person

depicted in the photographs provided by Hannaford. The Toyota Matrix, a 2006 model,

is registered to AMINU and a female. The address used     for the registration is 57

Wellington Terrace. A second vehicle, a 2004 Mazda 3, is also registered to AMINU at

57 Wellington Terrace. AMINU also possesses a New Hampshire driver license that

lists his address as 57 Wellington Terrace.

      17.      The $1,000 MoneyGram money order payable to AMINU (discussed

above) was deposited into an account at Digital Federal Credit Union ("DFCU").

DFCU account records showed that AMINU opened the account on 03-16-2016, and

provided his address as 57 Wellington Terrace. The account was closed on 11-06-



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2017.

        18.   An analysis of the DFCU records showed that during the time the account

was open, approximately 97 money orders totaling approximately $59,045 were

deposited into the account along with $14,736 in cash. During the same time period,

there were cash withdrawals of approximately $53,535. There were also three

Treasurer's Checks written out of the account totaling $20,000 and three wire transfers

out of the account totaling $4,225.00 to A.E.S. Inc. (AES). AES is an international

shipping company which claims on their website to be the "undisputed shipping leader

to West Africa." The wire transfers are consistent with patterns of money laundering,

when compared to the numerous money orders payable to auto auction companies

related to this investigation. The purchase and shipment of used vehicles to West Africa

is a well-known method of money laundering, as detailed below in section 25.

        19.   The analysis of the DFCU account showed a pattern of money order

deposits followed by quick withdrawals of cash. For example, on 08-02-2017, the day

after the Green Dot MasterCard was used to purchase money orders at Walmart,

thirteen money orders totaling $9,850 were deposited in the DFCU account. On the

same day, $3,000 in cash was withdrawn from the account. The following day, 08-03-

2017, an additional $5,500 was withdrawn from the account. DFCU provided all

available video and photos of AMINU's account transactions which confirmed showed
                                                                     I




AMINU making the transactions at DFCU. believe the DFCU account was used
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primarily as a funnel account and the account transactions are consistent with patterns

of money laundering and structuring.

        20.   The money orders deposited in AMINU's DFCU account were from
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Western Union and MoneyGram and records showed they were purchased at multiple

locations, including Hannaford, Wal-Mart, CVS, Rite Aid, Circle K, and Hy-Vee Feed

Store.

         21.   Han naford was able to identify two additional receipts related to money

order transactions with AMINU's DFCU account. On 07-06-2017, a money order in the

amount of $535.00 was purchased using AMINU's DFCU debit card. On 07-27-2017,

six money orders were purchased, totaling $2,956.00. One of the money orders in the

amount of $450.00 was deposited into AMINU's DFCU account. Hannaford did not

have the money order serial numbers.

         22.   Rite Aid records documented the money order transactions totaling

$1,400.00 which were paid for with cash. The money orders purchased at Rite Aid on

06-27-216 in Buffalo, NY, were deposited into AMINU's DFCU account.

         23.   CVS records indicated that on 2-23-2017 AMINU received $520.00 at the

Manchester CVS Store #2257 via wire transfer from an individual in Canada. There

was only one MoneyGram money order for $20.00 made payable to "Lukman Aminu."

CVS will only pay out $500.00 cash on wire transfers, so the remaining amount owed

was paid with a money order.

         24.   Hy-Vee Feed Store records related to a money order transaction in which

the money order was deposited into AMINU's DFCU account. The Western Union

money order (serial number 17-586252996-2), in the amount of $750.00 was purchased

on 06-07-2017 using debit card number ending in 7209. There was one additional

money order transaction on 07-29-2017 at Hy-Vee Feed Store associated with debit

card number ending in 7209. A $1,000.00 Western Union money order (17-620810920-
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8) was purchased and due to the amount, the purchaser was required to present an

identification card. The purchaser's name and          P11   on the Hy-Vee Feed Store record

belonged to Victim-3. The $1,000.00 money order was not deposited into AMINU's

account, but received a copy of the money order from Western Union which listed
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"Copart" as the payee with "57 Wellington Terrace" as the address, the address of

AMINU's residence.         I   believe the evidence shows that AMINU received the blank

money order, filled out "Copart" as the payee, and then wrote in his own home address

of "57 Wellington Terrace" onto the money order before endorsing the money order to

Copart.

      25.        I   received records from Community America Bank, the bank issuer of debit

card number ending in 7209 that was used to purchase the money orders at Hy-Vee

Feed Store. The account membership documents listed Victim-3 as the account

individual account holder since 2008.

      26.        Records from Wal-Mart documented 29 MoneyGram money order

transactions to include payment information associated with money orders either

deposited into AMINU's DFCU account or money orders purchased during the same

transaction as those money orders deposited into AMINU's DFCU account from 05-09-

2016 to 08-01-2017 for a total of $25,895.00. $20,245.00 of the money orders were

either made payable to AMINU or deposited into AMINU's DFCU account. The method

of payment for the 29 transactions was a Green Dot MasterCard (GreenDot) in the

name of Victim-i, a Capital One debit/prepaid card, a Netspend prepaid card, a Navy

Federal Credit Union (NFCU) account, a Community America Credit Union (CACU)

account in the name of Victim-3, or cash.



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       27.    Capital One Pre-Paid Card: There were three MoneyGram money orders

purchased on 06-02-2017 with Capital One Pre-Paid card number ending in 3263 for a

total of $2,547.10. Green Dot purchased the Capital One Pre-Paid card business and a

Green Dot fraud investigator told me the account was open for a short period of time,

received an IRS tax refund check, and was then emptied shortly after the deposit. One

money order was made payable to "IAAI Auto Auctions" for $1,000.00.        One of the

money orders was made payable to "Copart Auto Auctions" for $1,000.00, and one

money order was made payable to "Lukman Aminu" for $545.00 and deposited into

AMINU's DFCU account.      I   know through my training and experience and open source

reporting that used car markets in Nigeria and Benin are commonly used to launder

funds by criminal organizations, specifically individuals that commit fraud in the United

States. There is a large market for used vehicles in Nigeria that are purchased at auto

auction sites in the United States every year using criminal proceeds. The vehicles are

then shipped to Nigeria or to Cotonou, Benin, which is a free-trade area only a two-hour

drive from Lagos, Nigeria. The vehicles are then fixed up and resold to the Nigerian

public. This network of used car purchases and shipments is a common way for

perpetrators of fraud in the United States to send money back to Nigeria (in the value of

the shipped car), while simultaneously laundering the funds or "cleaning the money" to

make the money appear as legitimate income.

       28.    Netspend Pre-Paid Card: There were three MoneyGram money orders

purchased on 07-25-2017 at Wal-Mart with Netspend pre-paid card number ending in

8660 for a total of $2,952.10. Two of the money orders were made payable to "Copart"

for $1,000.00 each, with both money orders listing AMINU's home address of "57



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Wellington Terrace." The third money order was made payable to "Lukman Aminu," "57

Wellington Terrace," for $950.00 and deposited into AMINU's DFCU account. Netspend

records indicated the account holder was Victim-4. The Netspend card was purchased

with an initial load of $10.00 on 6/22/2017 at a 7-11 store located 1.7 miles from

AMINU's residence at the time and 700 miles from the account holder, Victim-4. Victim-

4 told Law Enforcement that he did not open the account and has never been to New

Hampshire. The Netspend pre-paid card was purchased on 06-21-2018 in Manchester,

New Hampshire, with an initial load (credit) of $10.00. The Netspend pre-paid card was

registered online at IP address 98.140.143.202 using Victim-4's         P11,   thus allowing

deposits to be made on the Netspend pre-paid card. All transactions on this account,

other than the initial load of $10.00, were conducted on 7-25-2017. The primary load

(credit) for $10,277.00 on 7-25-2017 was listed as an IRS tax refund check from the

United States Treasury. Victim-4 had not filed a 2017 tax return which means the tax

return deposited on to the Netspend pre-paid card was the proceeds of a fraudulent tax

return utilizing Victim-4's   P11.   The same day of the deposit, there were five large

purchases at Wal-Mart and Hannaford stores in the vicinity of Manchester, New

Hampshire. In addition to the Wal-Mart transaction above in which a $950.00 money

order was deposited into AMINU's DFCU account, another transaction took place on

07-25-2017 ata different Wal-Mart for the same amount, $2,952.10. Two of the money

orders were made payable to "IAAI" (Insurance Auto Auctions, Inc.), each for $1,000.00.

Open-source reporting indicates that Insurance Auto Auctions, Inc. is a nationwide auto

auction company with over 160 locations salvage auto auction that works with a variety

of sellers including insurance companies, dealerships, rental car companies, and fleet



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lease companies to facilitate the efficient sale of total-loss vehicles. IAAI has a location

in the Salem/Manchester, New Hampshire area.

       29.    Another money order was made payable to "Copart", address listed as "57

Wellington Terrace," for $950.00. Again, believe the evidence shows that AMINU
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utilized the pre-paid card to purchase multiple money orders, laundering the proceeds of

IRS tax refund fraud.

       30.    The New Hampshire Department of State did not locate any business

licenses or registrations in AMINU's name. New Hampshire Law Enforcement

resources could not locate any New Hampshire employment history or businesses in

AMINU's name.

       31.    There was a transaction on 07-25-2017 at Hannaford, 201 John Devine

Drive, Manchester, NH, for $2,956.00, the same store where AMINU's money order

transaction on 09-28-2017 was conducted (discussed in paragraphs 9, 11, and 12).

Hannaford provided the receipt for this transaction which listed six money order

purchased in addition to a $6.00 service fee for a total of $2,956.00. Hannaford did not

have the money order serial numbers retained in their records. There were two

additional transactions at a different Hannaford, one transaction for $1,203.00 and the

other for $201 .00. Han naford did not have the receipts for these transactions in their

records. One final purchase was made at the Mercy of God African Market in

Manchester, New Hampshire for $10.80, completely emptying the entire Netspend pre-

paid card account. The Netspend pre-paid card was never used again. AMINU's DFCU

bank records documented approximately 16 purchases made from his DFCU account at

Mercy of God African Market from 5-24-2016 to 5-1 -2017.



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       32.    The Netspend records indicate another card account is connected to the

same IP address; this card was activated in the name of Victim-5. The Netspend pre-

paid card in Victim-5's name was purchased on 06-22-2017 with an initial load (credit)

of $10.00 at a Rite Aid in Manchester, New Hampshire.          On 07-11-2018, the same IP

address of 98.140.143.202 used to register Victim-4's Netspend account was used to

register the Netspend account, utilizing Victim-5's   P11.   This Netspend account received

another credit at CVS in the amount of $20.00, but the account never received any

additional deposits and was not used to make any purchases.

       33.     Navy Federal Credit Union (NFCU): The NFCU records indicated there

were three MoneyGram money orders purchased on 06-18-2017 with NFCU debit card

number ending in 6334 for a total of $2,802.10. One money order was made payable to

"Lukman Aminu" for $1,000.00 and one money order was made payable to "Lukman

Aminu" for $1,000.00, with both money orders deposited into AMINU's DFCU account.

One money order was made payable to PERSON 3 for $800.00. PERSON 3 resides in

Londonberry, New Hampshire. The records for NFCU debit card number ending in 6334

showed it was in the name of Victim-6, and listed Victim-6 as an active duty Army officer

in the application   for the account, but did not indicate the date the account was opened.

All significant transactions for this account occurred during a brief period from 6-18-

2016 through 6-24-2016, consisting of incoming funds transfers from two other Navy

FCU members totaling $12,350.00, followed by immediate withdrawal of funds to

purchase money orders at Hannaford and Walmart stores in Manchester and

Londonderry, NH. In addition to the 06-18-2016 transaction at Wal-Mart in Manchester,

NH, totaling $2802.10, there was another purchase at the same Wal-Mart on 06-20-



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2016 for $2,952.10. There was four purchases made at Hannaford stores in the

Manchester area, totaling $5,983.00, with two of the Hannaford stores being the same

as AMINU's transaction on 09-28-2017. An NFCU fraud investigator stated that even

though the account was still open, it had been locked down since 2016 because of the

suspected fraudulent transfers. spoke to Victim-6's spouse who confirmed Victim-6's
                                I




identity and told me Victim-6 never had a NFCU account and had never served in the

military.

        34.     Community America Credit Union (CACU): CACU records show that there

were 16 MoneyGram money orders purchased using CACU debit card number ending

in 7209 which is the same   account previously mentioned to purchase money orders at

Hy-Vee Feed Store by Victim-3. 15 of the 16 money orders totaling $1 3,750.00 were

deposited into AMINU's DFCU account, with all but one of the money orders purchased

in Independence, Missouri, and the   other money order purchased in Centralia, Illinois.

There was one money order not deposited into AMINU's DFCU account which was

made payable to 'Copart Auto Auctions" in the amount of $300.00. Victim-3's name was

clearly listed on the money orders as the purchaser, meaning Victim-3 was not trying to

hide their identity and believed the money orders were for a legitimate purchase or

benefitted someone Victim-3 knew.      CACU records indicated Victim-3 opened the

account in 2008, and received payroll deposits into this account for several months until

an apparent retirement, followed by pension or 401(k) and social security payments.

Bills and living expenses were also paid out of this account. Over a two-month time

period in 2017, Victim-3 began conducting transactions consistent with being a

"romance scam" victim, with legitimate large deposits from Victim-3's other financial



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accounts followed by outgoing money wire transfers on the same day and in the same

amount as the deposit.   I   spoke to a CACU fraud investigator who said CACU believed

Victim-3 was the victim of a "romance scam". A CACU employee told Victim-3 they may

be the victim of a "romance scam" and Victim-3 responded that the relationship was the

real   deala common    occurrence in romance scams. The CACU branch manager also

spoke to Victim-3 about the unusual activity and expressed concern that Victim-3 was a

victim of a "romance scam", as well as informing Victim-3 that if the activity continued

then the account would be closed. On 5-26-2017, Victim-3 received a $30,000.00

deposit from one of Victim-3's financial accounts. On 5-30-2017, Victim-3 initiated a

$29,000.00 wire transfer to Person-4 in Abu Dhabi, UAE. The memo line said

"HUSBAND IS BUILDING A BRIDGE," so the wire was rejected and credited back to

her account on 06-2-2017. Victim-3's account was closed by CACU on 08-09-2017

due to the unusual banking activity related to fraud and the CACU's belief that Victim-3

was the victim of a "romance scam."

        35.   On 05-28-2018, a search warrant was executed on the email account

engineerlookman©yahoo.com. Subscriber information for the account included the

name "Mrshina aminu," a birthday of 11-28-1983, and the phone number (917) 717-

3764. AMINU provided the same phone number, (917) 717-3764, in an application for a

Capital One MasterCard and a membership application for DFCU. The user information

also listed the email account lukmanaminu83gmail.com as one of the "Alternate

Communication Channels."

        36.   A review of the engineerIookmanyahoo.com emails showed that on 10-

1-2017, the account was used to send five credit card numbers with expiration dates



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and Credit Card Verification ("CCV") numbers to another email address. The following

day, October 2, 2017, the account was used to send ten more credit card numbers with

expiration dates and CCV numbers to another email address. On 10-27-2017, pictures

were sent from engineerlookman@yahoo.com to himself

(engineerlookman©yahoo.com) of an unknown male in a U.S. Army uniform with the

name "Leon" on the uniform.

      37.    Emails that were sent and received by a second Yahoo email account,

edwardheaton999@yahoo.com, were included in the response to the search warrant for

engineerlookmanyahoo.com. The Yahoo representative who provided the response

to the search warrant stated that edwardheaton999@yahoo.com was an Internet

Message Access Protocol ("IMAP") account linked to engineerlookman@yahoo.com.

My understanding is that the IMAP linking shows that the same individual controlled

both email accounts. On June 25, 2016, the account received an email from Yahoo, no-

reply©cc.yahoo-inc.com, that stated "Hi edward, On June 25, 2016 at 10:25 AM, the

mobile number   *      *****64 was added to your Yahoo account."      The three

numbers that are not blocked out match the numbers in AMINU's phone number.

      38.    On 01-22-201 7, the edwardheaton999@yahoo.com account sent an email

to another email address, in which the writer states that his name is Edward Armstrong

Heaton and that he "was last stationed at fort leavenworth" but is now "overseas on a

special mission" where they are "denied access to phone service.., and even our bank

accounts." The writer closes by stating that "ALL WANT IS TRUE LOVE and A
                                                   I




SERIOUS RELATIONSHIP."        I   know, based on training and experience and my review

of the engineerlookman@yahoo.com account, that this email is consistent with the



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perpetration of a romance scam.

       39.    The edwardheaton999©yahoo.com account was used on February 6,

2017, to send two emails containing nineteen credit card numbers with expiration dates

and CCV numbers to another email address. On February 7, 2017, the account was

used to send seven credit card numbers with expiration dates and CCV numbers to

another email address. On 05-31-201 7, edwardheaton999@yahoo.com was used to

send bank account information for five individuals, including account usernames and

passwords, to another email address.   I   know, based on my training and experience and

the content of these emails, that these edwardheaton999©yahoo.com account emails

are furthering fraudulent activity.

       40.    The engineerlookman@yahoo.com account contained several emails

showing that AMINU recently moved to a new residence. On 02-15-2018, the account

received an email containing an estimate for a move from "Ray The Mover." The

address to which the goods were to be moved was 345 Dubuque Street, Manchester,

New Hampshire. On 02-28-2018, the account received an email from the United States

Postal Service confirming receipt of a request for mail to be redelivered to 345 Dubuque

Street, #1, Manchester, New Hampshire 03102. Further, Lexis Nexis Accurint records

for AMINU list his address as 345 Dubuque Street, Apartment     1,   Manchester, New

Hampshire 03102.

       41.    On 06-19-2018, law enforcement conducted physical surveillance at 345

Dubuque Street and observed a blue Toyota Matrix vehicle parked on the street in front

of the residence. The Toyota Matrix, a 2006 model, was previously observed by law

enforcement at AMINU's prior address, 57 Wellington Terrace. The vehicle is



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registered to AMINU and the same female referenced in paragraph 16. Based on the

emails related to 345 Dubuque Street, Lexis Nexis Accurint records and physical

surveillance of AMINU's vehicle outside the residence, I believe that AMINU now

resides at 345 Dubuque Street, Apartment        1,   Manchester, New Hampshire 031 02.

       42.    I   believe, based on my analysis of the evidence described above, that

AMINU is participating in a wide-ranging money laundering conspiracy. The

conspiracy's members to date include AMINU and other unknown coconspirators. The

laundered funds were sourced from various frauds, including the ERS-sourced funds

from the Western District of Texas that were procured via Wire Fraud (as outlined

above) and multiple other fraudulent schemes (including romance scams) sourced from

victims in different jurisdictions around the United States. These frauds constitute

specified unlawful activity under the money laundering statute. AMINU received these

funds in money orders or via prepaid cards activated in stolen victim Pit. AMINU

received these funds knowing that they were the proceeds of unlawful activity and then

AMINU conducted multiple financial transactions designed to conceal the nature,

source, location, ownership, and control of the proceeds.

       43.    Since this investigation is continuing, disclosure of the Warrant, this

affidavit, and/or the application for the Warrant ("the Warrant Papers") may jeopardize

the progress of this investigation. Accordingly,      I   request that the Court issue an order

sealing the Warrant Papers until further order of this Court.

                                      REQUEST FOR SEALING

       44.    I   further request that the Court orders that all papers in support of this

application, including the affidavit and arrest warrant, be sealed until further order of the



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Court. These documents discuss an ongoing criminal investigation that is neither

public, nor known to all of the targets of the investigation. Accordingly, there is good

cause to seal these documents because their premature disclosure may seriously

jeopardize this investigation.




                                                      Respectfully submitted,




                                                       Brad Weatherford
                                                       Texas Ranger
                                                       Texas Department of Public Safety



          Subscribed and sworn to before me on _________________________, 2018.




                                      Andrew W. Austin
                                      UNITED STATES MAGISTRATE JUDGE




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